Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 1 of 15 PageID #: 16697




   August 9, 2023

   VIA ECF

   Honorable Taryn A. Merkl
   United States Magistrate Judge
   United States District Court, Eastern District of New York
   225 Cadman Plaza East
   Brooklyn, New York 11201

   Re:     Bartlett v. Société Générale de Banque au Liban S.A.L., 19-cv-00007 - Defendants’
           Joint Response to Correct Misstatements in Plaintiffs’ August 1 Reply (ECF 340)

   Dear Judge Merkl:

   Defendants1 respectfully submit this joint response for the limited purpose of correcting certain
   misstatements made by Plaintiffs in their August 1 reply, ECF 340.2

   Plaintiffs’ reply argues that their request to use transactional records produced in Bartlett in the
   Stephens and Freeman Actions does not require modification of the Protective Order (“PO”) and
   therefore, is not governed by Martindell v. Int’l Tel. & Tel. Corp. 594 F.2d 291 (2d Cir. 1979)
   (placing high burden on party seeking to modify protective order in order to use discovery
   produced in one litigation in another case); see ECF 340 at 1, 2 (citing PO, ECF 272 ¶¶ C, K).
   Rather, they say, the PO already provides for the sharing of information across cases and that
   such provision “was negotiated-for by the parties.” ECF 340 at 1 (citing PO, ECF 272 ¶ C).

   Plaintiffs are wrong on the facts and the law: the plain language of the PO and Plaintiffs’ own
   representations during the parties’ negotiation of the applicable provision show that the PO must
   be modified in order for Plaintiffs to use the records produced in this case in the Stephens and
   Freeman Actions, and Plaintiffs cannot meet Martindell’s stringent requirement for doing so.

   Paragraph C of the PO states that “a Party may move before the Court in this Litigation by letter
   motion to request permission to use Discovery material in another case or matter.” ECF 272 at 3.
   Paragraph K, in turn, states that the PO “shall be binding upon the Parties” and “may be changed
   by further order of this Court, and without prejudice of the rights of a Party to move for relief
   from any of its provisions.” Id. at 13. These provisions are not “independent” of one another as
   Plaintiffs contend. ECF 340. Paragraph C simply specifies the procedural mechanism by which
   a party could request a modification of the PO under Paragraph K.



   1
    Defendants are (1) Société Générale de Banque au Liban S.A.L., (2) Fransabank S.A.L., (3) MEAB Bank s.a.l., (4)
   BLOM Bank S.A.L., (5) Byblos Bank S.A.L., (6) Bank Audi S.A.L., (7) Bank of Beirut S.A.L., (8) LGB Bank s.a.l.,
   (9) Banque Libano Française S.A.L., (10) Bank of Beirut and the Arab Countries S.A.L., and (11) Fenicia Bank
   S.A.L.
   2
    The Court has discretion to consider Defendants’ response. Neary v. Weichert, 489 F. Supp. 3d 55, 62–63
   (E.D.N.Y. 2020).
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                                                              Honorable Taryn A. Merkl
                                                              August 9, 2023
                                                              Page 2



   Indeed, that is precisely how Plaintiffs’ counsel justified the language in Paragraph C during the
   parties’ negotiations. After Defendants initially struck the relevant language in Paragraph C from
   a draft of the PO—raising the same concerns articulated in Defendants’ July 28, 2023 letter-brief
   in opposition (ECF 338)—Plaintiffs’ counsel implored Defendants to reconsider in an April 6,
   2022 email, explaining: “Virtually every protective order we have been involved in contains
   language noting that a party can move to modify the order.” Exhibit A (emphasis added).
   Then, in a follow-up email on May 4, 2022, Plaintiffs’ counsel expressed concern that omitting
   the language in question from Paragraph C would “foreclose the possibility of moving before the
   Court” to modify the PO’s general prohibition against the use of discovery materials outside of
   this case. Id. (emphasis in original).

   Thus, far from a “negotiated-for” protocol for the use of Bartlett discovery materials in Plaintiffs’
   counsel’s other cases (and for other clients) for any “good faith purpose” (ECF 340 at 1),
   Plaintiffs’ own words make clear that Paragraph C merely reserves Plaintiffs’ right to “move to
   modify” the PO in order to allow for the use of discovery materials in other cases.

   Having already represented that Paragraph C governs requests “to modify” the PO, Plaintiffs
   cannot now take the opposite position before this Court. And because Plaintiffs cannot meet the
   high burden of showing “improvidence in the grant of a Rule 26(c) protective order or some
   extraordinary circumstance or compelling need,” their request to modify the PO should be
   denied. Martindell, 594 F.2d at 296; SEC v. TheStreet.com, 273 F.3d 222, 230 (2d Cir. 2001); AT
   & T Corp. v. Sprint Corp., 407 F.3d 560, 562 (2d Cir. 2005); Iridium India Telecom Ltd. v.
   Motorola, Inc., 165 F. App’x 878, 880–81 (2d Cir. 2005).

   Respectfully submitted,

        DECHERT LLP                                       SQUIRE PATTON BOGGS (US) LLP

        By: /s/ Jonathan R. Streeter                      By: /s/ Gassan A. Baloul
        Jonathan R. Streeter                              Gassan A. Baloul
        1095 Avenue of the Americas                       Mitchell R. Berger
        Three Bryant Park                                 2550 M Street, NW
        New York, NY 10036                                Washington, DC 20037
        212-698-3500                                      202-457-6155
        Email: jonathan.streeter@dechert.com              Email: gassan.baloul@squirepb.com
                                                          Email: mitchell.berger@squirepb.com
        Michael H. McGinley
        Cira Centre                                       Attorneys for Defendants MEAB Bank
        2929 Arch Street                                  s.a.l., Fenicia Bank S.A.L., and LGB Bank
        Philadelphia, PA 19104                            s.a.l.
        215-994-4000
        Email: michael.mcginley@dechert.com

        Attorneys for Defendants BLOM Bank SAL
Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 3 of 15 PageID #: 16699


                                                       Honorable Taryn A. Merkl
                                                       August 9, 2023
                                                       Page 3



       and Fransabank SAL


       MAYER BROWN LLP                             MAYER BROWN LLP

       By: /s/ Mark G. Hanchet                     By: /s/ Andrew J. Pincus
       Mark G. Hanchet                             Andrew J. Pincus
       Robert W. Hamburg                           Marc R. Cohen
       1221 Avenue of the Americas                 Alex C. Lakatos
       New York, NY 10020                          1999 K Street, NW
       212-506-2500                                Washington, DC 20006
       Email: mhanchet@mayerbrown.com              202-263-3220
       Email: rhamburg@mayerbrown.com              Email: apincus@mayerbrown.com
                                                   Email: mcohen@mayerbrown.com
                                                   Email: alakatos@mayerbrown.com
       Attorneys for Defendant Banque-Libano
       Française SAL                               Attorneys for Defendant Bank Audi SAL



       DLA PIPER LLP (US)                          ASHCROFT LAW FIRM, LLC

       By: /s/ Jonathan D. Siegfried               By: /s/ Michael J. Sullivan
       Jonathan D. Siegfried                       Michael J. Sullivan
       Erin Collins                                Brian J. Leske
       1251 Avenue of The Americas                 200 State Street, 7th Floor
       New York, NY 10020                          Boston, MA 02109
       212-335-4925                                617-573-9400
       Email: jonathan.siegfried@dlapiper.com      Email: msullivan@ashcroftlawfirm.com
       Email: erin.collins@dlapiper.com            Email: bleske@ashcroftlawfirm.com

       Attorneys for Defendants Byblos Bank SAL,   Attorneys for Defendant Société Générale
       Bank of Beirut and the Arab Countries       de Banque au Liban S.A.L.
       SAL, and Bank of Beirut s.a.l.
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                           EXHIBIT A
      Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 5 of 15 PageID #: 16701
Archived: Tuesday, August 8, 2023 4:02:14 PM
From: Ari Ungar
Mail received time: Wed, 4 May 2022 19:23:08
Sent: Thu, 5 May 2022 00:22:44
To: EXT david.lizmi@squirepb.com Aaron Schlanger Goldstein, Linda EXT Mitchell Berger EXT gassan.baloul@squirepb.com
EXT joseph.alonzo@squirepb.com EXT jonathan.siegfried@dlapiper.com McGinley, Michael Romeo, Justin M. EXT Mark
Hanchet EXT RHamburg@mayerbrown.com EXT Andrew Pincus EXT Marc Cohen EXT alakatos@mayerbrown.com EXT
choupt@mayerbrown.com EXT HWeisburg@Shearman.com EXT Mike Sullivan EXT bleske@ashcroftlawfirm.com Rivkin,
David DeLaquil, Mark Foley, Elizabeth P. EXT ccurran@whitecase.com EXT nerb@whitecase.com
Cc: Gary Osen Cindy Schlanger Michael Radine Dina Gielchinsky tab@tturner.com
Subject: RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)
Importance: Normal
Sensitivity: None


**EXTERNAL SENDER**

David,

Thank you for your e-mail and Defendants’ further proposed edits. We hope that we are close to reaching an
agreement. To that end, we will agree to all of Defendants’ additional proposed edits with the following
exceptions:

Paragraph C
As stated in my April 6 e-mail, it is critical from our standpoint to retain the exact language we proposed:

“However, a Party may move before the Court in this Litigation by letter motion to request permission to
use Discovery Material in another case or matter, and nothing herein waives any right a Party has to object to
said motion.”

While we recognize the importance of the protective order for bank customers that might potentially agree
to waive Lebanese bank secrecy, we think the protective order’s language sufficiently safeguards the
confidentiality of any records Defendants may produce. We cannot stipulate to foreclose the possibility of
moving before the Court because it is impossible to anticipate every potential scenario where relief of some
kind might be required. Of course, nothing in the protective order prevents Defendants from raising
customer waiver as an additional basis for objecting to such a request if it ever materializes.

Paragraph D2

Defendants added the language “and other sensitive personal information that may be subject to U.S. or
foreign laws.”

Plaintiffs propose a slight modification: “and other similar sensitive personal data that may be subject to
U.S. or foreign laws.” This tracks the language used above in this paragraph, and it hopefully obviates the
need for a stand-alone definition of “sensitive personal information.”

Paragraph E2
       Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 6 of 15 PageID #: 16702
Finally, as previously indicated in my April 6 e-mail, we will agree to your removal of this paragraph, but
only if the verbiage we proposed in Paragraph C is accepted.

Regards,

Ari Ungar
Attorney at Law

OSEN LLC
190 Moore Street, Suite 272
Hackensack, New Jersey 07601/ USA
Telephone 201.265.6400
Facsimile 201.265.0303
aungar@osenlaw.com
www.osenlaw.com


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transmission in error, please notify our office immediately by e-mail or by telephone. Thank you for your cooperation. Osen LLC -
Attorneys at Law.


From: Lizmi, David <david.lizmi@squirepb.com>
Sent: Sunday, May 1, 2022 8:44 PM
To: Ari Ungar <aungar@osenlaw.com>; Aaron Schlanger <aschlanger@osenlaw.com>; Goldstein, Linda
<Linda.Goldstein@dechert.com>; Berger, Mitchell <mitchell.berger@squirepb.com>; Baloul, Gassan A.
<gassan.baloul@squirepb.com>; Alonzo, Joseph <joseph.alonzo@squirepb.com>; EXT jonathan.siegfried@dlapiper.com
<jonathan.siegfried@dlapiper.com>; McGinley, Michael <Michael.McGinley@dechert.com>; Romeo, Justin M.
<Justin.Romeo@dechert.com>; EXT Mark Hanchet <MHanchet@mayerbrown.com>; EXT RHamburg@mayerbrown.com
<RHamburg@mayerbrown.com>; EXT Andrew Pincus <APincus@mayerbrown.com>; EXT Marc Cohen
<mcohen@mayerbrown.com>; EXT alakatos@mayerbrown.com <alakatos@mayerbrown.com>; EXT
choupt@mayerbrown.com <choupt@mayerbrown.com>; EXT HWeisburg@Shearman.com <HWeisburg@Shearman.com>; EXT
Mike Sullivan <msullivan@ashcroftlawfirm.com>; EXT bleske@ashcroftlawfirm.com <bleske@ashcroftlawfirm.com>; Rivkin,
David <drivkin@bakerlaw.com>; DeLaquil, Mark <mdelaquil@bakerlaw.com>; Foley, Elizabeth P. <efoley@bakerlaw.com>;
EXT ccurran@whitecase.com <ccurran@whitecase.com>; EXT nerb@whitecase.com <nerb@whitecase.com>
Cc: Gary Osen <gosen@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>; Michael Radine
<mradine@osenlaw.com>; Dina Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

CAUTION: This email originated from outside of the organization. Do not click links or open attachments unless you recognize the sender and
know the content is safe.

Good Evening Ari,

Please see the attached draft Protective Order, in consideration of Plaintiffs’ proposed edits.

Thanks,

David
        Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 7 of 15 PageID #: 16703
From: Ari Ungar <aungar@osenlaw.com>
Sent: Thursday, April 21, 2022 11:29 AM
To: Lizmi, David <david.lizmi@squirepb.com>; Aaron Schlanger <aschlanger@osenlaw.com>; Goldstein, Linda
<Linda.Goldstein@dechert.com>; Berger, Mitchell <mitchell.berger@squirepb.com>; Baloul, Gassan A.
<gassan.baloul@squirepb.com>; Alonzo, Joseph <joseph.alonzo@squirepb.com>; EXT jonathan.siegfried@dlapiper.com
<jonathan.siegfried@dlapiper.com>; McGinley, Michael <Michael.McGinley@dechert.com>; Romeo, Justin M.
<Justin.Romeo@dechert.com>; EXT Mark Hanchet <MHanchet@mayerbrown.com>; EXT RHamburg@mayerbrown.com
<RHamburg@mayerbrown.com>; EXT Andrew Pincus <APincus@mayerbrown.com>; EXT Marc Cohen
<mcohen@mayerbrown.com>; EXT alakatos@mayerbrown.com <alakatos@mayerbrown.com>; EXT
choupt@mayerbrown.com <choupt@mayerbrown.com>; EXT HWeisburg@Shearman.com <HWeisburg@Shearman.com>; EXT
Mike Sullivan <msullivan@ashcroftlawfirm.com>; EXT bleske@ashcroftlawfirm.com <bleske@ashcroftlawfirm.com>; Rivkin,
David <drivkin@bakerlaw.com>; DeLaquil, Mark <mdelaquil@bakerlaw.com>; Foley, Elizabeth P. <efoley@bakerlaw.com>;
EXT ccurran@whitecase.com <ccurran@whitecase.com>; EXT nerb@whitecase.com <nerb@whitecase.com>
Cc: Gary Osen <gosen@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>; Michael Radine
<mradine@osenlaw.com>; Dina Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: [EXT] RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

Hi David,

Can you please provide your collective position on the open issues delineated below? Alternatively, if you
prefer, the parties can submit their competing versions of the protective order to the Court.

Regards,

Ari Ungar
Attorney at Law

OSEN LLC
190 Moore Street, Suite 272
Hackensack, New Jersey 07601/ USA
Telephone 201.265.6400
Facsimile 201.265.0303
aungar@osenlaw.com
www.osenlaw.com


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Attorneys at Law.


From: Ari Ungar
Sent: Wednesday, April 6, 2022 9:43 AM
To: Lizmi, David <david.lizmi@squirepb.com>; Aaron Schlanger <aschlanger@osenlaw.com>; Goldstein, Linda
<Linda.Goldstein@dechert.com>; Berger, Mitchell <mitchell.berger@squirepb.com>; Baloul, Gassan A.
<gassan.baloul@squirepb.com>; Alonzo, Joseph <joseph.alonzo@squirepb.com>; EXT jonathan.siegfried@dlapiper.com
<jonathan.siegfried@dlapiper.com>; McGinley, Michael <Michael.McGinley@dechert.com>; Romeo, Justin M.
<Justin.Romeo@dechert.com>; EXT Mark Hanchet <MHanchet@mayerbrown.com>; EXT RHamburg@mayerbrown.com
<RHamburg@mayerbrown.com>; EXT Andrew Pincus <APincus@mayerbrown.com>; EXT Marc Cohen
<mcohen@mayerbrown.com>; EXT alakatos@mayerbrown.com <alakatos@mayerbrown.com>; EXT
      Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 8 of 15 PageID #: 16704
choupt@mayerbrown.com <choupt@mayerbrown.com>; EXT HWeisburg@Shearman.com <HWeisburg@Shearman.com>; EXT
Mike Sullivan <msullivan@ashcroftlawfirm.com>; EXT bleske@ashcroftlawfirm.com <bleske@ashcroftlawfirm.com>; Rivkin,
David <drivkin@bakerlaw.com>; DeLaquil, Mark <mdelaquil@bakerlaw.com>; Foley, Elizabeth P. <efoley@bakerlaw.com>;
EXT ccurran@whitecase.com <ccurran@whitecase.com>; EXT nerb@whitecase.com <nerb@whitecase.com>
Cc: Gary Osen <gosen@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>; Michael Radine
<mradine@osenlaw.com>; Dina Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

David,
Thank you for sending us Defendant-Banks’ proposed edits to the draft Protective Order, in track changes.
There appear to be only a few outstanding issues to resolve, which we’ve delineated below with our
proposals to resolve them:
Paragraph C – Defendants crossed out the language:
              However, a Party may move before the Court in this Litigation by letter motion to
              request permission to use Discovery Material in another case, and nothing herein
              waives any right a Party has to object to said motion.
Virtually every protective order we have been involved in contains language noting that a party can move to
modify the order. We ask that you reconsider your position. If the Defendant-Banks still insist on striking
that language, we should just present the issue to the Court for resolution.

Paragraph E 2 - Defendants crossed out the language:

              Nothing in this Protective Order shall prohibit any Party from providing Protected
              Information produced under the Order to U.S. federal or state law enforcement or
              regulatory agencies that address terrorism financing, money laundering, or other
              financial crimes-related issues in the event a Party believes that Protected Information
              produced under the Order indicates that a felony has been committed. At least five (5)
              business days prior to sharing such Protected Information with any such U.S. law
              enforcement or regulatory agency, the disclosing Party is required to notify the Party
              who originally produced the Protected Information.

Plaintiffs will agree to this deletion, but only if Defendant-Banks agree to our original language above for
Paragraph C, extended to include “another case or matter.” If that language remains objectionable to the
Defendant-Banks, we will just add this to the list of issues to the Court for resolution.

Paragraph F 1 - Defendants crossed out the language “(except for grand jury subpoenas).” As a compromise,
we propose substituting “(to the extent permitted by law.)”

Paragraph F 1 - Defendants crossed out the language giving a party 5 business days to notify other parties in
writing and replaced it with a 24-hour deadline. In our view, that is an unrealistically short period of time
for a variety of reasons, but we will agree to a 72-hour notification period.

Paragraph L – Plaintiffs generally agree to the proposed edits but propose a slight modification in the
language at the end of the paragraph, to wit:

              The parties shall include, in any pretrial order entered in this Litigation, protocol their
              proposed exhibit lists, thereby providing the Designating Party with sufficient advance
              notice of the Protected Information sought to be introduced at trial to permit the
        Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 9 of 15 PageID #: 16705
              Designating Party an opportunity to seek the relief contemplated by this provision.

Plaintiffs have no objections to the remaining proposed edits you provided.

Please let us know your collective position on the 5 open issues.

Regards,

Ari Ungar
Attorney at Law

OSEN LLC
190 Moore Street, Suite 272
Hackensack, New Jersey 07601/ USA
Telephone 201.265.6400
Facsimile 201.265.0303
aungar@osenlaw.com
www.osenlaw.com


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Attorneys at Law.



From: Lizmi, David <david.lizmi@squirepb.com>
Sent: Tuesday, March 29, 2022 5:32 PM
To: Aaron Schlanger <aschlanger@osenlaw.com>; Goldstein, Linda <Linda.Goldstein@dechert.com>; Berger, Mitchell
<mitchell.berger@squirepb.com>; Baloul, Gassan A. <gassan.baloul@squirepb.com>; Alonzo, Joseph
<joseph.alonzo@squirepb.com>; EXT jonathan.siegfried@dlapiper.com <jonathan.siegfried@dlapiper.com>; McGinley,
Michael <Michael.McGinley@dechert.com>; Romeo, Justin M. <Justin.Romeo@dechert.com>; EXT Mark Hanchet
<MHanchet@mayerbrown.com>; EXT RHamburg@mayerbrown.com <RHamburg@mayerbrown.com>; EXT Andrew Pincus
<APincus@mayerbrown.com>; EXT Marc Cohen <mcohen@mayerbrown.com>; EXT alakatos@mayerbrown.com
<alakatos@mayerbrown.com>; EXT choupt@mayerbrown.com <choupt@mayerbrown.com>; EXT HWeisburg@Shearman.com
<HWeisburg@Shearman.com>; EXT Mike Sullivan <msullivan@ashcroftlawfirm.com>; EXT bleske@ashcroftlawfirm.com
<bleske@ashcroftlawfirm.com>; Rivkin, David <drivkin@bakerlaw.com>; DeLaquil, Mark <mdelaquil@bakerlaw.com>; Foley,
Elizabeth P. <efoley@bakerlaw.com>; EXT ccurran@whitecase.com <ccurran@whitecase.com>; EXT nerb@whitecase.com
<nerb@whitecase.com>
Cc: Gary Osen <gosen@osenlaw.com>; Ari Ungar <aungar@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>;
Michael Radine <mradine@osenlaw.com>; Dina Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

Counsel,

Attached please find the Defendant-Banks’ proposed edits to the draft Protective Order, in track changes.

Best,

David
      Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 10 of 15 PageID #: 16706

                    David J. Lizmi
                    Principal
                    Squire Patton Boggs (US) LLP
                    1211 Avenue of the Americas, 26th Floor
                    New York, NY 10036
                    T +1 212 872 9873
                    O +1 212 872 9800
                    F +1 212 872 9815
                    M +1 908 723 0852
                    david.lizm i@squirepb.com | squirepattonboggs.com
                    Find Us: Tw itter | LinkedIn | Facebook | Instagram




From: Aaron Schlanger <aschlanger@osenlaw.com>
Sent: Monday, March 28, 2022 12:55 PM
To: Goldstein, Linda <Linda.Goldstein@dechert.com>; Berger, Mitchell <mitchell.berger@squirepb.com>; Baloul, Gassan A.
<gassan.baloul@squirepb.com>; Alonzo, Joseph <joseph.alonzo@squirepb.com>; EXT jonathan.siegfried@dlapiper.com
<jonathan.siegfried@dlapiper.com>; McGinley, Michael <Michael.McGinley@dechert.com>; Romeo, Justin M.
<Justin.Romeo@dechert.com>; EXT Mark Hanchet <MHanchet@mayerbrown.com>; EXT RHamburg@mayerbrown.com
<RHamburg@mayerbrown.com>; EXT Andrew Pincus <APincus@mayerbrown.com>; EXT Marc Cohen
<mcohen@mayerbrown.com>; EXT alakatos@mayerbrown.com <alakatos@mayerbrown.com>; EXT
choupt@mayerbrown.com <choupt@mayerbrown.com>; EXT HWeisburg@Shearman.com <HWeisburg@Shearman.com>; EXT
Mike Sullivan <msullivan@ashcroftlawfirm.com>; EXT bleske@ashcroftlawfirm.com <bleske@ashcroftlawfirm.com>; Rivkin,
David <drivkin@bakerlaw.com>; DeLaquil, Mark <mdelaquil@bakerlaw.com>; Foley, Elizabeth P. <efoley@bakerlaw.com>;
EXT ccurran@whitecase.com <ccurran@whitecase.com>; EXT nerb@whitecase.com <nerb@whitecase.com>; Lizmi, David
<david.lizmi@squirepb.com>
Cc: Gary Osen <gosen@osenlaw.com>; Ari Ungar <aungar@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>;
Michael Radine <mradine@osenlaw.com>; Dina Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: [EXT] RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

Counsel,

We previously wrote to you on February 16, February 25, and March 14 concerning Plaintiffs’ proposed
edits to the draft protective order that we sent you on February 7, but we have not received a substantive
response.

If Defendants are unwilling to accept our proposed compromise language and formulate a joint response,
we suggest that the parties submit their competing drafts to the Court and let Magistrate Judge Merkl make
the final determination.

Please let us know you if you agree.

Aaron Schlanger
Attorney at Law

OSEN LLC
190 Moore Street, Suite 272
Hackensack, NJ 07601 / USA
Telephone 201.265.6400
Facsimile 201.265.0303
aschlanger@osenlaw.com
www.osenlaw.com
       Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 11 of 15 PageID #: 16707

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Attorneys at Law.


From: Aaron Schlanger
Sent: Monday, March 14, 2022 12:46 PM
To: Goldstein, Linda <Linda.Goldstein@dechert.com>
Cc: EXT Mitchell Berger <mitchell.berger@squirepb.com>; EXT gassan.baloul@squirepb.com <gassan.baloul@squirepb.com>;
EXT joseph.alonzo@squirepb.com <joseph.alonzo@squirepb.com>; EXT jonathan.siegfried@dlapiper.com
<jonathan.siegfried@dlapiper.com>; McGinley, Michael <Michael.McGinley@dechert.com>; tamer.mallat@dechert.com;
Romeo, Justin M. <Justin.Romeo@dechert.com>; EXT Mark Hanchet <MHanchet@mayerbrown.com>; EXT
RHamburg@mayerbrown.com <RHamburg@mayerbrown.com>; EXT Andrew Pincus <APincus@mayerbrown.com>; EXT Marc
Cohen <mcohen@mayerbrown.com>; EXT alakatos@mayerbrown.com <alakatos@mayerbrown.com>; EXT
choupt@mayerbrown.com <choupt@mayerbrown.com>; EXT HWeisburg@Shearman.com <HWeisburg@Shearman.com>; EXT
Mike Sullivan <msullivan@ashcroftlawfirm.com>; EXT bleske@ashcroftlawfirm.com <bleske@ashcroftlawfirm.com>; Rivkin,
David <drivkin@bakerlaw.com>; DeLaquil, Mark <mdelaquil@bakerlaw.com>; Foley, Elizabeth P. <efoley@bakerlaw.com>;
EXT ccurran@whitecase.com <ccurran@whitecase.com>; EXT nerb@whitecase.com <nerb@whitecase.com>; EXT
david.lizmi@squirepb.com <david.lizmi@squirepb.com>; Gary Osen <gosen@osenlaw.com>; Ari Ungar
<aungar@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>; Michael Radine <mradine@osenlaw.com>; Dina
Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

Linda,

Following up on your email below, do you have any update for us on Defendants' further comments and
proposed changes to the draft protective order? Thanks in advance for your reply.

Aaron Schlanger
Attorney at Law

OSEN LLC
190 Moore Street, Suite 272
Hackensack, NJ 07601 / USA
Telephone 201.265.6400
Facsimile 201.265.0303
aschlanger@osenlaw.com
www.osenlaw.com

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From: Goldstein, Linda <Linda.Goldstein@dechert.com>
Sent: Friday, February 25, 2022 3:46 PM
To: Aaron Schlanger <aschlanger@osenlaw.com>
Cc: EXT Mitchell Berger <mitchell.berger@squirepb.com>; EXT gassan.baloul@squirepb.com <gassan.baloul@squirepb.com>;
        Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 12 of 15 PageID #: 16708
EXT joseph.alonzo@squirepb.com <joseph.alonzo@squirepb.com>; EXT jonathan.siegfried@dlapiper.com
<jonathan.siegfried@dlapiper.com>; McGinley, Michael <Michael.McGinley@dechert.com>; tamer.mallat@dechert.com;
Romeo, Justin M. <Justin.Romeo@dechert.com>; EXT Mark Hanchet <MHanchet@mayerbrown.com>; EXT
RHamburg@mayerbrown.com <RHamburg@mayerbrown.com>; EXT Andrew Pincus <APincus@mayerbrown.com>; EXT Marc
Cohen <mcohen@mayerbrown.com>; EXT alakatos@mayerbrown.com <alakatos@mayerbrown.com>; EXT
choupt@mayerbrown.com <choupt@mayerbrown.com>; EXT HWeisburg@Shearman.com <HWeisburg@Shearman.com>; EXT
Mike Sullivan <msullivan@ashcroftlawfirm.com>; EXT bleske@ashcroftlawfirm.com <bleske@ashcroftlawfirm.com>; Rivkin,
David <drivkin@bakerlaw.com>; DeLaquil, Mark <mdelaquil@bakerlaw.com>; Foley, Elizabeth P. <efoley@bakerlaw.com>;
EXT ccurran@whitecase.com <ccurran@whitecase.com>; EXT nerb@whitecase.com <nerb@whitecase.com>; EXT
david.lizmi@squirepb.com <david.lizmi@squirepb.com>; Gary Osen <gosen@osenlaw.com>; Ari Ungar
<aungar@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>; Michael Radine <mradine@osenlaw.com>; Dina
Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: Re: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

Counselor, we are conferring amongst ourselves so we can send you our collective comments, which will be far more
efficient. I note that we are not aware of any imminent document production and also that it took you two months to
respond to our last comments on this document. Your patience would be appreciated.

Kind regards,

Linda

Linda C. Goldstein

Dechert LLP
1095 Avenue of the Americas
New York, New York 10036
+1 212 698 3817 Direct
+1 917 613 3562 Mobile
+1 212 698 0684 Fax
linda.goldstein@dechert.com
dechert.com


On Feb 25, 2022, at 3:36 PM, Aaron Schlanger <aschlanger@osenlaw.com> wrote:

?

    [EXTERNAL EMAIL]
Counsel,

When we can anticipate receiving your response with respect to the proposed edits to the draft protective
order?

Regards,

Aaron Schlanger
Attorney at Law
OSEN LLC
190 Moore Street, Suite 272
Hackensack, NJ 07601 / USA
Telephone 201.265.6400
      Case 1:19-cv-00007-CBA-TAM Document 341 Filed 08/09/23 Page 13 of 15 PageID #: 16709
Facsimile 201.265.0303
aschlanger@osenlaw.com
www.osenlaw.com

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Attorneys at Law.


From: Aaron Schlanger
Sent: Wednesday, February 16, 2022 9:49 AM
To: 'Berger, Mitchell' <mitchell.berger@squirepb.com>; 'Baloul, Gassan A.' <gassan.baloul@squirepb.com>; 'Alonzo, Joseph'
<joseph.alonzo@squirepb.com>; 'Jonathan Siegfried (jonathan.siegfried@dlapiper.com)'
<jonathan.siegfried@dlapiper.com>; 'linda.goldstein@dechert.com' <linda.goldstein@dechert.com>;
'michael.mcginley@dechert.com' <michael.mcginley@dechert.com>; 'tamer.mallat@dechert.com'
<tamer.mallat@dechert.com>; 'Romeo, Justin M.' <Justin.Romeo@dechert.com>; 'Mark G. Hanchet
(mhanchet@mayerbrown.com)' <mhanchet@mayerbrown.com>; 'rhamburg@mayerbrown.com'
<rhamburg@mayerbrown.com>; 'apincus@mayerbrown.com' <apincus@mayerbrown.com>; 'Marc R. Cohen
(mcohen@mayerbrown.com)' <mcohen@mayerbrown.com>; 'Alex C. Lakatos (alakatos@mayerbrown.com)'
<alakatos@mayerbrown.com>; 'Christopher J. Houpt (choupt@mayerbrown.com)' <choupt@mayerbrown.com>;
'hweisburg@shearman.com' <hweisburg@shearman.com>; 'msullivan@ashcroftlawfirm.com'
<msullivan@ashcroftlawfirm.com>; 'bleske@ashcroftlawfirm.com' <bleske@ashcroftlawfirm.com>; 'Rivkin, David'
<drivkin@bakerlaw.com>; 'DeLaquil, Mark' <mdelaquil@bakerlaw.com>; 'Foley, Elizabeth P.' <efoley@bakerlaw.com>;
'ccurran@whitecase.com' <ccurran@whitecase.com>; 'nerb@whitecase.com' <nerb@whitecase.com>; 'Lizmi, David'
<david.lizmi@squirepb.com>
Cc: Gary Osen <gosen@osenlaw.com>; Ari Ungar <aungar@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>;
Michael Radine <mradine@osenlaw.com>; Dina Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: RE: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

Counsel,

I am following up regarding the proposed edits to the draft protective order that we sent last week to see
when we can anticipate receiving your response.

Regards,

Aaron Schlanger
Attorney at Law

OSEN LLC
190 Moore Street, Suite 272
Hackensack, NJ 07601 / USA
Telephone 201.265.6400
Facsimile 201.265.0303
aschlanger@osenlaw.com
www.osenlaw.com

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Attorneys at Law.


From: Aaron Schlanger
Sent: Monday, February 7, 2022 1:13 PM
To: Berger, Mitchell <mitchell.berger@squirepb.com>; Baloul, Gassan A. <gassan.baloul@squirepb.com>; Alonzo, Joseph
<joseph.alonzo@squirepb.com>; Jonathan Siegfried (jonathan.siegfried@dlapiper.com) <jonathan.siegfried@dlapiper.com>;
linda.goldstein@dechert.com; michael.mcginley@dechert.com; tamer.mallat@dechert.com; Romeo, Justin M.
<Justin.Romeo@dechert.com>; Mark G. Hanchet (mhanchet@mayerbrown.com) <mhanchet@mayerbrown.com>;
rhamburg@mayerbrown.com; apincus@mayerbrown.com; Marc R. Cohen (mcohen@mayerbrown.com)
<mcohen@mayerbrown.com>; Alex C. Lakatos (alakatos@mayerbrown.com) <alakatos@mayerbrown.com>; Christopher J.
Houpt (choupt@mayerbrown.com) <choupt@mayerbrown.com>; hweisburg@shearman.com;
msullivan@ashcroftlawfirm.com; bleske@ashcroftlawfirm.com; Rivkin, David <drivkin@bakerlaw.com>; DeLaquil, Mark
<mdelaquil@bakerlaw.com>; Foley, Elizabeth P. <efoley@bakerlaw.com>; ccurran@whitecase.com; nerb@whitecase.com;
Lizmi, David <david.lizmi@squirepb.com>
Cc: Gary Osen <gosen@osenlaw.com>; Ari Ungar <aungar@osenlaw.com>; Cindy Schlanger <cschlanger@osenlaw.com>;
Michael Radine <mradine@osenlaw.com>; Dina Gielchinsky <dgielchinsky@osenlaw.com>; tab@tturner.com
Subject: Bartlett v. Societe Generale de Banque au Liban , 19-cv-00007 (CBA)(TAM)

Counsel,

Attached are our further proposed edits to the Protective Order which attempt to address and take into
consideration your December 7, 2021, comments to the prior draft. We have accepted many of your
proposed edits and left a redline of what we believe to be either new language we’re proposing or prior
language we have reinstated. However, because of the volume of prior comments and edits, we recommend
you run your own redline of the document against your own prior version. As discussed earlier, we think
that it makes sense to leave the internal cross-referencing to subsections until all of the language has been
agreed upon.

We look forward to your further views.

Regards,

Aaron Schlanger
Attorney at Law

OSEN LLC
190 Moore Street, Suite 272
Hackensack, NJ 07601 / USA
Telephone 201.265.6400
Facsimile 201.265.0303
aschlanger@osenlaw.com
www.osenlaw.com

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